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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

                      Plaintiff,

        v.                                                                    2:05 CR 19-6
                                                                               (MAXWELL)

 THOMAS ALLEN HADDIX,

                      Defendant.

                                          ORDER

        By Order entered July 26, 2005, the Court referred any pre-trial motions to be filed

 on behalf of either the United States of America or the Defendant in the above-styled

 criminal action to United States Magistrate Judge John S. Kaull, pursuant to 28 U.S.C. §§

 636(b)(1)(A) and (B), and authorized Magistrate Judge Kaull to conduct any necessary

 hearings in resolving said motions or in preparation for submission of proposed findings of

 fact and recommendation for disposition.

        On December 30, 2005, Defendant filed a Motion in Limine, which motion sought

 to have excluded from the trial of this matter any evidence concerning an alleged

 Methamphetamine Lab operated by Defendant and not charged in the indictment. The

 Government filed a response to Defendant’s Motion in Limine on January 9, 2006. The

 Docket in the above-styled criminal action reflects that a hearing on the Defendant’s Motion

 in Limine was conducted by United States Magistrate Judge John S. Kaull on January 10,

 2006. Thereafter, on March 8, 2006, Magistrate Judge Kaull entered his Report And

 Recommendation, wherein he recommends that the Court deny Defendant’s Motion in

 Limine.
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          Magistrate Kaull’s Report And Recommendation advised the parties, pursuant to 28

 U.S.C. § 636(b)(1), that any objections to said Report And Recommendation which were

 not filed, in writing, with the Clerk of Court within ten (10) days after being served with a

 copy of said Opinion/Report And Recommendation, were waived. No objections have been

 filed.

          The Court has reviewed the record before it and has conducted a de novo review

 of all matters before Magistrate Judge John S. Kaull in considering Defendant Haddix’s

 Motion in Limine. Based upon its review, it appears to the Court that Magistrate Judge

 Kaull’s Report And Recommendation accurately reflects the law applicable to the facts and

 circumstances before the Court in the above-styled criminal action. Accordingly, it is

          ORDERED that the Report And Recommendation entered by United States

 Magistrate Judge Kaull in the above-styled criminal action be, and the same hereby is,

 ACCEPTED in whole. It is further

          ORDERED that Defendant Haddix’s Motion in Limine be, and the same hereby is,

 DENIED in accordance with the recommendation of Magistrate Judge Kaull.

          The Clerk of Court is directed to transmit copies of this order to counsel of record.

          ENTER: April 25th , 2006

                                                             /s/ Robert E. Maxwell
                                                          United States District Judge




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